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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION                     MDL No. 2804
    OPIATE LITIGATION
                                                     Case No. 1:17-md-2804
    This document relates to:
                                                     JUDGE DAN AARON POLSTER
    All Cases Noted on Attached Appendix A


                THIRD MASTER STIPULATION AND [PROPOSED] ORDER
                       DISMISSING WITH PREJUDICE CLAIMS
                   PURSUANT TO CVS SETTLEMENT AGREEMENT

          IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned counsel

of record for the Plaintiff Subdivisions identified in Appendix A (collectively, the “Dismissing

Plaintiffs”) and Defendants CVS Health Corporation and CVS Pharmacy, Inc. (collectively and

together with the Released Entities, “CVS”1) that, pursuant to the election of each Dismissing

Plaintiff to participate in the CVS Settlement Agreement, which is dated December 9, 2022, and

binding on the Dismissing Plaintiffs and CVS, and which has an Effective Date of June 23, 2023

(a copy of which is attached as Appendix B), all claims of each Dismissing Plaintiff against CVS,

including any entity identified on the attached Appendix C, are hereby voluntarily DISMISSED

WITH PREJUDICE, with each party to bear its own costs. The Court shall retain jurisdiction

with respect to the CVS Settlement Agreement to the extent provided under that Agreement.2


1
  The Released Entities are each and every entity that is a “Released Entity” as set forth in Section
I.KKK and Exhibit J of the CVS Settlement Agreement, dated as of December 9, 2022, a copy of
which is attached as Appendix B. They include, but are not limited to, the entities listed on
Appendix C, also attached hereto. Appendix C is not intended to limit the scope of Released
Entities, and to the extent that Dismissing Plaintiffs or CVS subsequently identify any Released
Entity that should have been included on Appendix C and is a defendant in an action brought by a
Dismissing Plaintiff, they will inform the Clerk of the Court.
2
  To the extent any Plaintiff Subdivision is inadvertently included on Appendix A, the Court retains
jurisdiction to hear those disputes. In advance of raising any such issue with the Court, the Plaintiff
Subdivision must meet and confer with defense counsel and Plaintiffs’ Liaison Counsel.
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Dated: April 17, 2024

Agreed as to form and substance:

                                   Respectfully submitted,

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                                   Plaintiffs’ Co-Lead Counsel

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                                   Plaintiffs’ Liaison Counsel




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CVS

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Counsel for CVS Health Corporation
and CVS Pharmacy, Inc.


                                CERTIFICATE OF SERVICE
       I hereby certify that on April 17, 2024, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system. Copies will be served upon counsel of record by, and may
be obtained through, the Court CM/ECF system.

                                             /s/Peter H. Weinberger
                                             Peter H. Weinberger




SO ORDERED this __ day of _____________, 2024.

________________________________
Hon. Dan Aaron Polster
United States District Judge




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